      Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 1 of 34




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------x
JAMES MURPHY, ON BEHALF OF HIMSELF :                    ECF CASE
AND ALL OTHER PERSONS SIMILARLY        :
SITUATED,                              :
                                       :                No.: 1:23-cv-446
                                       :
                Plaintiffs,
                                       :                CLASS ACTION COMPLAINT
                                       :
                   v.
                                       :                JURY TRIAL DEMANDED
                                       :
QUEENS UNIVERSITY OF CHARLOTTE,
                                       :
                                       :
                Defendant.
                                       :
------------------------------------x
                            INTRODUCTION

       1.      Plaintiff, JAMES MURPHY, on behalf of himself and all other persons

similarly situated, asserts the following claims against Defendant, QUEENS

UNIVERSITY OF CHARLOTTE, as follows.

       2.      Plaintiff is a visually-impaired and legally blind person who requires

screen-reading software to read website content using his computer. Plaintiff uses the

terms “blind” or “visually-impaired” to refer to all people with visual impairments who

meet the legal definition of blindness in that they have a visual acuity with correction of

less than or equal to 20 x 200. Some blind people who meet their definition have limited

vision. Others have no vision.

       3.      In a September 25, 2018 letter to U.S. House of Representative Ted Budd,

U.S. Department of Justice Assistant Attorney General Stephen E. Boyd confirmed that

public accommodations must make the websites they own, operate, or control equally

accessible to individuals with disabilities. Assistant Attorney General Boyd’s letter

provides:
      Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 2 of 34




       The Department [of Justice] first articulated its interpretation that
       the ADA applies to public accommodations’ websites over 20
       years ago. This interpretation is consistent with the ADA’s title III
       requirement that the goods, services, privileges, or activities
       provided by places of public accommodation be equally accessible
       to people with disabilities.1

       4.      Based on a 2010 U.S. Census Bureau report, approximately 8.1 million

people in the United States are visually impaired, including 2.0 million who are blind,

and according to the American Foundation for the Blind’s 2015 report, approximately

400,000 visually impaired persons live in the State of New York.

       5.      Plaintiff brings his civil rights action against QUEENS UNIVERSITY OF

CHARLOTTE, (“Queens” or “Defendant”) for its failure to design, construct, maintain,

and operate its website to be fully accessible to and independently usable by Plaintiff and

other blind or visually-impaired people. Defendant’s denial of full and equal access to its

website, and therefore denial of its services offered thereby, is a violation of Plaintiff’s

rights under the Americans with Disabilities Act (“ADA”) and Section 504 of The

Rehabilitation Act of 1973 (“RA”).

       6.      Because Defendant’s website, https://www.queens.edu/, (the “Website” or

“Defendant’s website”), is not equally accessible to blind and visually-impaired

prospective students, it violates the ADA. Plaintiff seeks a permanent injunction to cause

a change in Defendant’s corporate policies, practices, and procedures so that Defendant’s

website will become and remain accessible to blind and visually-impaired prospective

students.

1
 See Letter from Assistant Attorney General Stephen E. Boyd, U.S. Department of Justice, to
Congressman Ted Budd, U.S. House of Representatives (Sept. 25, 2018) (available at
https://images.cutimes.com/contrib/content/uploads/documents/413/152136/adaletter.pdf) (last
accessed July 13, 2020).


                                              -2-
       Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 3 of 34




        7.       By failing to make its Website available in a manner compatible with

computer screen reader programs, Defendant deprives blind and visually-impaired

individuals the benefits of its online goods, content, and services—all benefits it affords

nondisabled individuals—thereby increasing the sense of isolation and stigma among

those persons that Title III was meant to redress.

        8.       “When Congress enacted the ADA in 1990, it intended for the ADA to

keep pace with the rapidly changing technology of our times. Since 1996, the Department

of Justice has consistently taken the position that the ADA applies to web content.”

“Inaccessible web content means that people with disabilities are denied equal access to

information. An inaccessible website can exclude people just as much as steps at an

entrance to a physical location. Ensuring web accessibility for people with disabilities is a

priority for the Department of Justice. In recent years, a multitude of services have moved

online and people rely on websites like never before for all aspects of daily living.” A

website with inaccessible features can limit the ability of people with disabilities to

access a public accommodation’s goods, services, and privileges available through that

website.2 “For people with disabilities, website accessibility and other forms of accessible

ICT are necessities—not luxuries or conveniences—that foster independence, economic

self-sufficiency and active, meaningful participation in civic life. Although the

Department has clearly stated that the ADA applies to such digital spaces, the lack of




2
 Justice Department Issued New Web Accessibility Guidance Under the Americans with Disabilities Act
Titled Guidance on Web Accessibility and the ADA (This guidance describes how state and local
governments and businesses open to the public can make sure that their websites are accessible to people
with disabilities as required by the Americans with Disabilities Act (ADA).
https://beta.ada.gov/web-guidance/ Published March 16, 2022.

                                                   -3-
       Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 4 of 34




specific requirements or technical compliance standards incorporated in regulation has

led to a widespread lack of meaningful digital accessibility for people with disabilities.”3

        9.       This discrimination is particularly acute during the current COVID-19

global pandemic. According to the Centers for Disease Control and Prevention (“CDC”),

Americans living with disabilities are at higher risk for severe illness from COVID-19

and, therefore, are recommended to shelter in place throughout the duration of the

pandemic.4 This underscores the importance of access to online retailers, such as

Defendant, for this especially vulnerable population. The COVID-19 pandemic is

particularly dangerous for disabled individuals.5

                                  JURISDICTION AND VENUE

        10.      The Court has subject-matter jurisdiction over this action under 28 U.S.C.

§ 1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42

U.S.C. § 12181, et seq., 28 U.S.C. § 1332 and The Rehabilitation Act of 1973, § 504 et

seq. prohibiting discrimination against the blind.

        11.      The Court has supplemental jurisdiction under 28 U.S.C. § 1367 over

Plaintiff’s New York State Human Rights Law, N.Y. Exec. Law Article 15, (“NYSHRL”)

3
 “United States Senate Committee on the Judiciary.” United States Senate Committee on the Judiciary,
https://www.judiciary.senate.gov/durbin-duckworth-letter-to-garland-re-accessible-websites. Last accessed,
June 22, 2022.
4
 See Centers for Disease Control and Prevention website, Coronavirus Disease 2019 (2019), available at
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-higher-risk.html?CDC_AA_
refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-ncov%2Fspecific-groups%2Fhigh-risk-
complications.html (last accessed July 13, 2020) (“Based on currently available information and clinical
expertise, older adults and people of any age who have serious underlying medical conditions might be at
higher risk for severe illness from COVID-19.”).

5
 See The New York Times, ‘It’s Hit Our Front Door’: Homes for the Disabled See a Surge of
Covid-19 (2020), available at
https://www.nytimes.com/2020/04/08/nyregion/coronavirus-disabilities-group-homes.html?smid=
fb-nytimes&smtyp=cur (last accessed July 13, 2020) (“As of Monday, 1,100 of the 140,000
developmentally disabled people monitored by the state had tested positive for the virus, state
officials said. One hundred five had died — a rate far higher than in the general population”).
                                                   -4-
      Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 5 of 34




and New York City Human Rights Law, N.Y.C. Admin. Code § 8-101 et seq.,

(“NYCHRL”) claims.

        12.    Venue is proper in this district under 28 U.S.C. §1391(b)(1) and (2)

because Defendant conducts and continues to conduct a substantial and significant

amount of business in this District, Defendant is subject to personal jurisdiction in this

District, and a substantial portion of the conduct complained of herein occurred in this

District.

        13.    Defendant is subject to personal jurisdiction in this District. Defendant has

been and is committing the acts or omissions alleged herein in the Southern District of

New York that caused injury and violated rights the ADA and RA prescribe to Plaintiff

and to other blind and other visually-impaired prospective students. A substantial part of

the acts and omissions giving rise to Plaintiff’s claims occurred in this District: on

separate occasions, Plaintiff has been denied the full use and enjoyment of the services of

Defendant’s Website while attempting to access Defendant’s website from his home in

New York, New York. These access barriers that Plaintiff encountered have caused a

denial of Plaintiff’s full and equal access in the past, and now deter Plaintiff on a regular

basis from visiting and utilizing Defendant’s Website. This includes, Plaintiff attempting

to interact with Defendant’s website to obtain information about Defendant’s online

school programs, to take courses online and apply for admissions, send transcripts to

determine student eligibility, as hereinafter set forth in more detail.

        14.    Defendant’s interactive website offers prospective students the ability to

take courses online, to pay tuition and other costs online, apply for payment plans, and

apply for admissions online, as well as information relating to course offerings, financial



                                              -5-
      Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 6 of 34




aid, cost of tuition, majors, and other services available online and other general

information about attending the college. These benefits and features of the Defendant’s

Website require the constant and repeated transmission of personally identifiable

information such as name, address, social security number, transcripts from other

institutions, and payment information from prospective students to the Defendant.

Defendant’s Website allows prospective students to complete and submit online

application for admission together with supporting documents such as transcripts and

receives either an approval or denial of their application from the Defendant. Once a

prospective student has met the requirements for admission through a series of these

interactions, the Defendant sends a plethora of information and documents for the

prospective student to sign and return to continue the admission process. The Website

also allows students to register for online courses where professors and other faculty will

directly interact with students throughout the semester by providing course material and

online-instruction. Students complete course objectives and examinations online and

submit to the Defendant for grading and learning purposes. Defendant’s website also

provides prospective students with a “net price calculator” which requires the prospective

student to input information in order to ascertain the student’s qualifications for merit

based awards and additional information to determine the nature and extent of financial

aid that would be available to the student. Based upon the above, Defendant’s website

calculates what the student’s expenses of tuition and fees would be after deducting

potential scholarships, grants and other financial aid. The Defendant submits invoices to

students who then pay by a credit/debit card or from their financial aid award, via the

Defendant’s online student portal.



                                            -6-
        Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 7 of 34




          15.    Defendant’s interactive website poses significant barriers with respect to

the interactive features listed supra. Defendant’s website is not compatible with JAWS

screen reader assisted software because the website inter alia contains ‘pop up’ boxes in

conjunction with its drop-down menu and subsections contained therein. These ‘pop up’

boxes direct the user to a specific area of the website when they are clicked on or offer

personalized information. Defendant’s website does not adequately label the ‘pop up’

boxes contained in the drop-down menu and therefore Plaintiff was unable to utilize them

adequately when he attempted to access the unlabeled areas of the Website such as

Admission, Apply, Request Information, Degrees & Certificates, Tuition & Fees

Financial Aid, and Class Schedules.6 The Website does not describe these subsections to

the screen reader assisted software and therefore the Plaintiff is unaware of the link’s

content, making it impossible to navigate. In addition, the ‘Net Price Calculator’ on

Defendant’s website also poses significant barriers to accessibility, specifically when the

Plaintiff attempted to agree to the terms and conditions of the ‘Net Price Calculator,’ he

was unable to check the box that would accept the conditions and thereafter was unable

to input his information in the text boxes and click on the ‘radio buttons’ to specify the

required information because the page was incompatible with his screen reader assisted

software.

          16.    Defendant is a university, college or other institution of higher learning.

Defendant regularly and systematically markets and solicits to prospective students in

order to encourage them to apply to and ultimately register and take online courses at

Defendant’s school and thereby generate revenue for the Defendant.



6
    See, https://www.queens.edu/

                                             -7-
      Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 8 of 34




       17.     Defendant participates in New York’s economic life by clearly performing

business and/or providing services over the Internet. Through its Website, Defendant

entered into contracts for the sale of its online services with residents of New York. These

online sales contracts involve, and require, Defendant’s knowing and repeated

transmission of computer files over the Internet. See Reed v. 1-800-Flowers.com, Inc.,

327 F. Supp. 3d 539 (E.D.N.Y. 2018) (exercising personal jurisdiction over forum

plaintiff’s website accessibility claims against out-of-forum website operator); Andrews v.

Blick Art Materials, LLC, 286 F. Supp. 3d 365 (E.D.N.Y. 2017); see also, Ford Motor

Co. v. Mont. Eighth Judicial Dist. Court, 592 U. S. ____ (2021) (personal jurisdiction can

be found as long as the company conducted business in the consumer’s home state that

relates in some way to the consumer’s injuries, such as engaging in other transactions for

similar products there.) South Dakota v. Wayfair, Inc., 585 U. S. ____ (2018); Godfried v.

Ford Motor Co., 2021 US Dist LEXIS 87012 [D Me May 6, 2021, No.

1:19-cv-00372-NT]; Romero v. 88 Acres Foods, Inc., 2022 US Dist LEXIS 9040 [SDNY

Jan. 18, 2022, No. 20-CV-9215 (KMW)]); Sanchez v. NutCo, Inc., 2022 US Dist LEXIS

51247 [SDNY Mar. 22, 2022, No. 20-CV-10107 (JPO)]; Panarra v. HTC Corporation

[WDNY April 15, 2022, No. 6:20-cv-6991(FPG-MWP), DKT. 53].

                                      THE PARTIES

       18.     Plaintiff, JAMES MURPHY, at all relevant times, is a resident of New

York, New York.

       19.     Plaintiff is a blind, visually-impaired handicapped person and a member of

member of a protected class of individuals under the ADA, under 42 U.S.C. §

12102(1)-(2), and the regulations implementing the ADA set forth at 28 CFR §§ 36.101



                                            -8-
       Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 9 of 34




et seq., the NYSHRL, the NYCHRL and the Rehabilitation Act of 1973, § 504 et seq.

prohibiting discrimination against the blind.

         20.      Defendant, QUEENS UNIVERSITY OF CHARLOTTE, is and was, at all

relevant times herein, a North Carolina Non Profit Corporation with its principal campus

address located at 1900 Selwyn Avenue, Charlotte, NC 28274. Defendant operates the

Queens online college as well as the Queens website and advertises, markets, and/or

operates in the State of New York and throughout the United States.

         21.      Defendant, QUEENS UNIVERSITY OF CHARLOTTE, operates the

Queens online college across the United States including the State of New York. This

online and physical college constitutes a place of public accommodation. Defendant’s

Website provides prospective students with access to an array of services including the

ability to take courses online, to pay tuition and other costs online, apply for payment

plans, and apply for admissions online, as well as information relating to course

offerings, financial aid, cost of tuition, majors, and other services available online and

other general information about attending the college.

         22.      Defendant’s online and physical college is a place of public

accommodation within the definition of Title III of the ADA, 42 U.S.C. § 12181(7)(J).

Defendant’s Website is a service, privilege, or advantage of Defendant’s online and

physical college.7

                                   NATURE OF ACTION

7
 [M]ultiple district courts in this circuit — including this one — have held that websites qualify as places
of public accommodation, even when they are not attached to a traditional brick-and-mortar store. See
Thorne, 2019 U.S. Dist. LEXIS 220080, 2019 WL 6916098, at *2; see also Del-Orden, 2017 U.S. Dist.
LEXIS 209251, 2017 WL 6547902, at *5, 10). Jaquez v. Dermpoint, Inc., 2021 US Dist LEXIS 96067, at
*7-8 [SDNY May 20, 2021, No. 20-CV-7589 (JPO)]); Chalas v. Barlean's Organic Oils, LLC, 2022 US
Dist LEXIS 211816 [SDNY Nov. 22, 2022, No. 22 Civ 04178 (CM)]; Martinez v. Gutsy LLC, 2022 US Dist
LEXIS 214830 [EDNY Nov. 29, 2022, No. 22-CV-409 (NGG) (RLM)]; Slade v. Life Spectacular, Inc.,
2022 US Dist LEXIS 220079 [SDNY Dec. 5, 2022, No. 22-CV-0037 (ALC)].

                                                    -9-
     Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 10 of 34




       23.     The Internet has become a significant source of information, a portal, and

a tool for conducting business, doing everyday activities such as shopping, learning,

banking, researching, as well as many other activities for sighted, blind and

visually-impaired persons alike.

       24.     In today’s tech-savvy world, blind and visually-impaired people have the

ability to access websites using keyboards in conjunction with screen access software that

vocalizes the visual information found on a computer screen or displays the content on a

refreshable Braille display. This technology is known as screen-reading software.

Screen-reading software is currently the only method a blind or visually-impaired person

may independently utilize in order to access the internet. Unless websites are designed to

be read by screen-reading software, blind and visually-impaired persons are unable to

fully access websites, and the information, products and services contained thereon.

       25.     Blind and visually-impaired users of Windows operating system-enabled

computers and devices have several screen reading software programs available to them.

Some of these programs are available for purchase and other programs are available

without the user having to purchase the program separately. Job Access With Speech,

otherwise known as “JAWS” is currently the most popular, separately purchased and

downloaded screen-reading software program available for a Windows computer.

       26.     For screen-reading software to function, the information on a website must

be capable of being rendered into text. If the website content is not capable of being

rendered into text, the blind or visually-impaired user is unable to access the same

content available to sighted users.




                                           -10-
     Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 11 of 34




        27.     The international website standards organization, the World Wide Web

Consortium, known throughout the world as W3C, has published version 2.0 of the Web

Content Accessibility Guidelines (“WCAG 2.0”). WCAG 2.0 are well-established

guidelines for making websites accessible to blind and visually-impaired persons. These

guidelines are universally followed by most large business entities and government

agencies to ensure their websites are accessible.

        28.     Non-compliant websites pose common access barriers to blind and

visually-impaired persons. Common barriers encountered by blind and visually impaired

persons include, but are not limited to, the following:

                a.      A text equivalent for every non-text element is not provided;

                b.      Title frames with text are not provided for identification and

navigation;

                c.      Equivalent text is not provided when using scripts;

                d.      Forms with the same information and functionality as for sighted

persons are not provided;

                e.      Information about the meaning and structure of content is not

conveyed by more than the visual presentation of content;

                f.      Text cannot be resized without assistive technology up to 200%

without losing content or functionality;

                g.      If the content enforces a time limit, the user is not able to extend,

adjust or disable it;

                h.      Web pages do not have titles that describe the topic or purpose;




                                            -11-
     Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 12 of 34




               i.      The purpose of each link cannot be determined from the link text

alone or from the link text and its programmatically determined link context;

               j.      One or more keyboard operable user interface lacks a mode of

operation where the keyboard focus indicator is discernible;

               k.      The default human language of each web page cannot be

programmatically determined;

               l.      When a component receives focus, it may initiate a change in

context;

               m.      Changing the setting of a user interface component may

automatically cause a change of context where the user has not been advised before using

the component;

               n.      Labels or instructions are not provided when content requires user

input, which include captcha prompts that require the user to verify that he or she is not a

robot;

               o.      In content which is implemented by using markup languages,

elements do not have complete start and end tags, elements are not nested according to

their specifications, elements may contain duplicate attributes and/or any IDs are not

unique;

               p.      Inaccessible Portable Document Format (PDFs); and,

               q.      The name and role of all User Interface elements cannot be

programmatically determined; items that can be set by the user cannot be

programmatically set; and/or notification of changes to these items is not available to user

agents, including assistive technology.



                                           -12-
     Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 13 of 34




                            STATEMENT OF FACTS

                       Defendant’s Barriers on Its Website

       29.     Defendant offers the commercial website, https://www.queens.edu/, to the

public. The website offers features which should allow all prospective students to access

the services offered by the Defendant. The services offered by Defendant include, but are

not limited to, the following: which allow students the ability to take courses online, to

pay tuition and other costs online, apply for payment plans, and apply for admissions

online, as well as information relating to course offerings, financial aid, cost of tuition,

majors, and other services available online and other general information about attending

the college.

       30.     It is, upon information and belief, Defendant’s policy and practice to deny

Plaintiff, along with other blind or visually-impaired users, access to Defendant’s

website, and to therefore specifically deny the goods and services that are offered thereby.

Due to Defendant’s failure and refusal to remove access barriers to its website, Plaintiff

and visually-impaired persons have been and are still being denied equal access to

Defendant’s numerous services and benefits offered to the public through the Website.

       31.     Plaintiff is a visually-impaired and legally blind person, who cannot use a

computer without the assistance of screen-reading software. Plaintiff is, however, a

proficient JAWS screen-reader user and uses it to access the Internet. Plaintiff has visited

the Website on separate occasions using the JAWS screen-reader.

       32.     During Plaintiff’s visits to the Website, the last occurring on December 12,

2022, in an attempt to access the Website for the purpose of possibly taking online

courses offered by the Defendant, he was denied access to the Website due to various



                                           -13-
     Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 14 of 34




barriers.     The Plaintiff encountered multiple access barriers that denied Plaintiff an

experience similar to that of a sighted person and full and equal access to the services

offered and made available to the public and that denied Plaintiff the full enjoyment of

the services of the Website by being unable to utilize the Defendant’s website and learn

more information about: taking courses online, the ability to pay tuition and other costs

online, apply for payment plans and admissions online, as well as information relating to

course offerings, financial aid, cost of tuition, majors, online classes, and other services

available online and other general information about attending the college.

        33.      The Plaintiff has suffered and continues to suffer frustration and

humiliation as a result of the discriminatory conditions present on Defendant's website.

These discriminatory conditions continue to contribute to the Plaintiff's sense of isolation

and segregation.

        34.      The Plaintiff has been discriminated against by the Defendant’s conduct

and violations of the statues and regulations set forth herein by being treated unequally

from sighted persons due to the Plaintiff’s disability and the Plaintiff has suffered and

continues to suffer injury as a result of Defendant’s discriminatory practices.

        35.      The Plaintiff intends to immediately revisit the Website to consider

applying for admission and enrolling in online courses at the Defendant’s school as soon

as the access barriers are removed from the Website.

        36.      The Plaintiff intends to further his education and will do so by enrolling in

online courses. The Plaintiff has a strong preference for online courses because of his

disability. Online courses do not require the Plaintiff to travel to a brick and mortar

physical school location and they allow the Plaintiff to progress in the course work at his



                                             -14-
     Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 15 of 34




own pace. Additionally, online courses are usually less expensive than courses at

institutions of higher learning that require physical attendance. The Plaintiff is interested

in the online courses offered by the Defendant because the Defendant’s online courses

meet the desired criteria of the Plaintiff.

        37.     While attempting to navigate the Website, Plaintiff encountered multiple

accessibility barriers for blind or visually-impaired persons that include, but are not

limited to, the following:

                a.      Lack of Alternative Text (“alt-text”), or a text equivalent. Alt-text

is an invisible code embedded beneath a graphical image on a website. Web accessibility

requires that alt-text be coded with each picture so that screen-reading software can speak

the alt-text where a sighted user sees pictures, which includes captcha prompts. Alt-text

does not change the visual presentation, but instead a text box shows when the keyboard

moves over the picture. The lack of alt-text on these graphics prevents screen readers

from accurately vocalizing a description of the graphics. As a result, Defendant’s

visually-impaired prospective students are unable to determine what is on the website,

browse, or enroll in the college and take courses online;

                b.      Empty Links That Contain No Text causing the function or

purpose of the link to not be presented to the user. They can introduce confusion for

keyboard and screen-reader users;

                c.      Redundant Links where adjacent links go to the same URL address

which results in additional navigation and repetition for keyboard and screen-reader

users; and




                                              -15-
     Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 16 of 34




               d.      Linked Images Missing Alt-text, which causes problems if an

image within a link contains no text and that image does not provide alt-text. A screen

reader then has no content to present the user as to the function of the link, including

information contained in PDFs.

       38.     Many pages on the Website also contain the same title elements. This

is a problem for the visually-impaired because the screen reader fails to distinguish

one page from another. In order to fix this problem, Defendant must change the title

elements for each page.

       39.     The Website also contained a host of broken links, which is a

hyperlink to a non-existent or empty webpage. For the visually-impaired this is

especially paralyzing due to the inability to navigate or otherwise determine where

one is on the website once a broken link is encountered. For example, upon coming

across a link of interest, Plaintiff was redirected to an error page. However, the

screen-reader failed to communicate that the link was broken. As a result, Plaintiff

could not get back to his original search.

                    Defendant Must Remove Barriers To Its Website

       40.     Due to      the   inaccessibility of Defendant’s       Website,       blind and

visually-impaired prospective students such as Plaintiff, who need screen-readers, cannot

fully and equally use or enjoy the goods, and services Defendant offers to the public on

its Website. The access barriers Plaintiff encountered have caused a denial of Plaintiff’s

full and equal access in the past, and now deter Plaintiff on a regular basis from accessing

the Website.




                                             -16-
     Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 17 of 34




        41.       These access barriers on Defendant’s Website have deterred Plaintiff from

visiting Defendant’s Website, and enjoying it equal to sighted individuals because:

Plaintiff was unable to use and enjoy the Website in the same manner as sighted

individuals do, preventing Plaintiff from using the Website to take courses online, apply

for admissions and pay tuition and costs online.

        42.       If the Website was equally accessible to all, Plaintiff could independently

navigate the Website and complete a desired transaction as sighted individuals do.

        43.       Through his attempts to use the Website, Plaintiff has actual knowledge of

the access barriers that make these services inaccessible and independently unusable by

blind and visually-impaired persons.

        44.        Because simple compliance with the WCAG 2.0 Guidelines would

provide Plaintiff and other visually-impaired prospective students with equal access to the

Website, Plaintiff alleges that Defendant has engaged in acts of intentional

discrimination, including but not limited to the following policies or practices:

                  a.     Constructing and maintaining a website that is inaccessible to

visually-impaired individuals, including Plaintiff;

                  b.     Failure to construct and maintain a website that is not sufficiently

intuitive so as to be equally accessible to visually-impaired individuals, including

Plaintiff; and,

                  c.     Failing to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind and visually-impaired prospective students,

such as Plaintiff, as a member of a protected class.




                                              -17-
            Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 18 of 34




               45.       Defendant therefore uses standards, criteria or methods of administration

       that have the effect of discriminating or perpetuating the discrimination of others, as

       alleged herein.

               46.       The ADA expressly contemplates the injunctive relief that Plaintiff seeks

       in this action. In relevant part, the ADA requires:

       In the case of violations of . . . this title, injunctive relief shall include an order to alter
              facilities to make such facilities readily accessible to and usable by individuals
              with disabilities . . . Where appropriate, injunctive relief shall also include
              requiring the . . . modification of a policy . . .

42 U.S.C. § 12188(a)(2).

               47.        Because Defendant’s Website is not and has never been fully accessible,

       and because, upon information and belief, Defendant does not have, and has never had,

       adequate corporate policies that are reasonably calculated to cause its Website to become

       and remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and seek a permanent

       injunction requiring Defendant to:

               a) Retain a qualified consultant acceptable to Plaintiff (“Web Accessibility
               Consultant”) who shall assist in improving the accessibility of its Website,
               including all third-party content and plug-ins, so the goods and services on the
               Website may be equally accessed and enjoyed by visually-impaired persons;

               b) Work with the Web Accessibility Consultant to ensure all employees involved
               in Website and content development be given web accessibility training on a
               biennial basis, including onsite training to create accessible content at the design
               and development stages;

               c) Work with the Web Accessibility Consultant to perform an automated
               accessibility audit on a periodic basis to evaluate whether Defendant’s Website
               may be equally accessed and enjoyed by visually-impaired persons on an ongoing
               basis;

               d) Work with the Web Accessibility Consultant to perform end-user
               accessibility/usability testing on at least a quarterly basis with said testing to be
               performed by humans who are blind or have low vision, or who have training and
               experience in the manner in which persons who are blind use a screen reader to

                                                    -18-
Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 19 of 34




 navigate, browse, and conduct business on websites, in addition to the testing, if
 applicable, that is performed using semi-automated tools;

 e) Incorporate all of the Web Accessibility Consultant’s recommendations within
 sixty (60) days of receiving the recommendations;

 f) Work with the Web Accessibility Consultant to create a Web Accessibility
 Policy that will be posted on its Website, along with an e-mail address, instant
 messenger, and toll-free phone number to report accessibility-related problems;

 g) Directly link from the footer on each page of its Website, a statement that
 indicates that Defendant is making efforts to maintain and increase the
 accessibility of its Website to ensure that visually-impaired persons have full and
 equal enjoyment of the goods, services, facilities, privileges, advantages, and
 accommodations of the Defendant’s Website;

 h) Accompany the public policy statement with an accessible means of submitting
 accessibility questions and problems, including an accessible form to submit
 feedback or an email address to contact representatives knowledgeable about the
 Web Accessibility Policy;

 i) Provide a notice, prominently and directly linked from the footer on each page
 of its Website, soliciting feedback from visitors to the Website on how the
 accessibility of the Website can be improved. The link shall provide a method to
 provide feedback, including an accessible form to submit feedback or an email
 address to contact representatives knowledgeable about the Web Accessibility
 Policy;

 j) Provide a copy of the Web Accessibility Policy to all web content personnel,
 contractors responsible for web content, and Client Service Operations call center
 agents (“CSO Personnel”) for the Website;

 k) Train no fewer than three of its CSO Personnel to automatically escalate calls
 from users with disabilities who encounter difficulties using the Website.
 Defendant shall have trained no fewer than 3 of its CSO personnel to timely assist
 such users with disabilities within CSO published hours of operation. Defendant
 shall establish procedures for promptly directing requests for assistance to such
 personnel including notifying the public that customer assistance is available to
 users with disabilities and describing the process to obtain that assistance;

 l) Modify existing bug fix policies, practices, and procedures to include the
 elimination of bugs that cause the Website to be inaccessible to users of screen
 reader technology; and

 m) Plaintiff, his counsel, and their experts monitor the Website for up to two years
 after the Mutually Agreed Upon Consultant validates the Website are free of

                                     -19-
     Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 20 of 34




       accessibility errors/violations to ensure Defendant has adopted and implemented
       adequate accessibility policies. To this end, Plaintiff, through his counsel and their
       experts, shall be entitled to consult with the Web Accessibility Consultant at their
       discretion, and to review any written material, including but not limited to any
       recommendations the Website Accessibility Consultant provides Defendant.

       48.     Web-based technologies have features and content that are modified on a

daily, and in some instances an hourly, basis, and a one time “fix” to an inaccessible

website will not cause the website to remain accessible without a corresponding change

in corporate policies related to those web-based technologies. To evaluate whether an

inaccessible website has been rendered accessible, and whether corporate policies related

to web-based technologies have been changed in a meaningful manner that will cause the

website to remain accessible, the website must be reviewed on a periodic basis using both

automated accessibility screening tools and end user testing by visually-impaired persons.

       49.     If the Website was accessible, Plaintiff and similarly situated blind and

visually-impaired persons could independently shop for and otherwise research the

Defendant’s services and products via the Website.

       50.     Although Defendant may currently have centralized policies regarding

maintaining and operating its Website, Defendant lacks a plan and policy reasonably

calculated to make them fully and equally accessible to, and independently usable by,

blind and other visually-impaired prospective students.

       51.     Defendant has, upon information and belief, invested substantial sums in

developing and maintaining their Website and has generated significant revenue from the

Website. These amounts are far greater than the associated cost of making their Website

equally accessible to visually-impaired prospective students.




                                           -20-
     Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 21 of 34




          52.   Without injunctive relief, Plaintiff and other visually-impaired prospective

students will continue to be unable to independently use the Website, violating their

rights.

                        CLASS ACTION ALLEGATIONS

          53.   Plaintiff, on behalf of himself and all others similarly situated, seeks to

certify a nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind

individuals in the United States who have attempted to access Defendant’s Website and as

a result have been denied access to the equal enjoyment of goods and services offered by

Defendant’s Website, during the relevant statutory period.

          54.   Plaintiff, on behalf of himself and all others similarly situated, seeks to

certify a New York State Sub-Class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally

blind individuals in the State of New York who have attempted to access Defendant’s

Website and as a result have been denied access to the equal enjoyment of goods and

services offered by Defendant’s Website, during the relevant statutory period.

          55.   Plaintiff, on behalf of himself and all others similarly situated, seeks to

certify a New York City Sub-Class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally

blind individuals in the City of New York who have attempted to access Defendant’s

Website and as a result have been denied access to the equal enjoyment of goods and

services offered by Defendant’s Website, during the relevant statutory period.

          56.   Common questions of law and fact exist amongst the Class and

Sub-Classes, including:

                a.     Whether Defendant’s Website is a “public accommodation” under

the ADA;



                                            -21-
     Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 22 of 34




               b.      Whether Defendant’s Website is a “place or provider of public

accommodation” under the NYSHRL or NYCHRL and RA;

               c.      Whether Defendant’s Website denies the full and equal enjoyment

of its goods, services, facilities, privileges, advantages, or accommodations to people

with visual disabilities, violating the ADA; and

               d.      Whether Defendant’s Website denies the full and equal enjoyment

of its goods, services, facilities, privileges, advantages, or accommodations to people

with visual disabilities, violating the NYSHRL, NYCHRL and RA.

               e.      Whether Defendant’s website and the unequal treatment of

visually-impaired persons constitutes unlawful discrimination.

       57.     Plaintiff’s claims are typical of the Class and Sub-Classes. The Class, and

Sub-Classes , similarly to the Plaintiff, are severely visually-impaired or otherwise blind

persons, and claim that Defendant has violated the ADA, NYSHRL, NYCHRL and RA

by failing to update or remove access barriers on its Website so it can be independently

accessible to the Class and/or the Sub-Classes.

       58.     Plaintiff will fairly and adequately represent and protect the interests of the

Class Members because Plaintiff has retained and is represented by counsel competent

and experienced in complex class action litigation as well as ADA litigation and because

Plaintiff has no interests antagonistic to the Class Members. Class certification of the

claims is appropriate under Fed. R. Civ. P. 23(b)(2) because Defendant has acted or

refused to act on grounds generally applicable to the Class, making appropriate both

declaratory and injunctive relief with respect to Plaintiff and the Class as a whole.




                                            -22-
            Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 23 of 34




              59.       Alternatively, class certification is appropriate under Fed. R. Civ. P.

       23(b)(3) because fact and legal questions common to Class Members predominate over

       questions affecting only individual Class Members, and because a class action is superior

       to other available methods for the fair and efficient adjudication of their litigation.

              60.       Judicial economy will be served by maintaining their lawsuit as a class

       action in that it is likely to avoid the burden that would be otherwise placed upon the

       judicial system by the filing of numerous similar suits by people with visual disabilities

       throughout the United States.

                             FIRST CAUSE OF ACTION
                    VIOLATIONS OF THE ADA, 42 U.S.C. § 12181 et seq.

              61.        Plaintiff, on behalf of himself and the Class Members, repeats and

       realleges every allegation of the preceding paragraphs as if fully set forth herein.

              62.       Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq.,

       provides:

       No individual shall be discriminated against on the basis of disability in the full and equal
              enjoyment of the goods, services, facilities, privileges, advantages, or
              accommodations of any place of public accommodation by any person who owns,
              leases (or leases to), or operates a place of public accommodation.

42 U.S.C. § 12182(a).


              63.       Defendant’s online and physical college is a place of public

       accommodation within the definition of Title III of the ADA, 42 U.S.C. § 12181(7)(J).

       Defendant’s Website is a service, privilege, or advantage of Defendant’s online and

       physical college.

              64.       Under Section 302(b)(1) of Title III of the ADA, it is unlawful

       discrimination to deny individuals with disabilities the opportunity to participate in or

                                                    -23-
             Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 24 of 34




       benefit from the goods, services, facilities, privileges, advantages, or accommodations of

       an entity. 42 U.S.C. § 12182(b)(1)(A)(i).

               65.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful

       discrimination to deny individuals with disabilities an opportunity to participate in or

       benefit from the goods, services, facilities, privileges, advantages, or accommodation,

       which is equal to the opportunities afforded to other individuals. 42 U.S.C. §

       12182(b)(1)(A)(ii).

               66.     Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination

       also includes, among other things:

       [A] failure to make reasonable modifications in policies, practices, or procedures, when
               such modifications are necessary to afford such goods, services, facilities,
               privileges, advantages, or accommodations to individuals with disabilities, unless
               the entity can demonstrate that making such modifications would fundamentally
               alter the nature of such goods, services, facilities, privileges, advantages or
               accommodations; and a failure to take such steps as may be necessary to ensure
               that no individual with a disability is excluded, denied services, segregated or
               otherwise treated differently than other individuals because of the absence of
               auxiliary aids and services, unless the entity can demonstrate that taking such
               steps would fundamentally alter the nature of the good, service, facility, privilege,
               advantage, or accommodation being offered or would result in an undue burden.

42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

               67.     The acts alleged herein constitute violations of Title III of the ADA, and

       the regulations promulgated thereunder. Plaintiff, who is a member of a protected class of

       persons under the ADA, has a physical disability that substantially limits the major life

       activity of sight within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A). Furthermore,

       Plaintiff has been denied full and equal access to the Website, has not been provided

       services that are provided to other patrons who are not disabled, and has been provided

       services that are inferior to the services provided to non-disabled persons. Defendant has



                                                   -24-
     Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 25 of 34




failed to take any prompt and equitable steps to remedy its discriminatory conduct. These

violations are ongoing.

        68.     Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set

forth and incorporated therein, Plaintiff, requests relief as set forth below.

                           SECOND CAUSE OF ACTION
                          VIOLATIONS OF THE NYSHRL

        69.     Plaintiff, on behalf of himself and the New York State Sub-Class

Members, repeats and realleges every allegation of the preceding paragraphs as if fully

set forth herein.

        70.     N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory

practice for any person, being the owner, lessee, proprietor, manager, superintendent,

agent or employee of any place of public accommodation . . . because of the . . . disability

of any person, directly or indirectly, to refuse, withhold from or deny to such person any

of the accommodations, advantages, facilities or privileges thereof.”

        71.     Defendant’s Website operates in the State of New York and constitutes an

online and physical college and a place of public accommodation within the definition of

N.Y. Exec. Law § 292(9). Defendant’s Website is a service, privilege or advantage of

Defendant’s online and physical college.

        72.     Defendant is subject to New York Human Rights Law because it owns

and/or operates its Website in the State of New York. Defendant is a person within the

meaning of N.Y. Exec. Law § 292(1).

        73.     Defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to update or

remove access barriers to its Website, causing its Website and the services integrated

therewith to be completely inaccessible to the blind. Their inaccessibility denies blind

                                             -25-
     Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 26 of 34




patrons full and equal access to the facilities, goods and services that Defendant makes

available to the non-disabled public.

       74.     Under N.Y. Exec. Law § 296(2)(c)(i), unlawful discriminatory practice

includes, among other things, “a refusal to make reasonable modifications in policies,

practices, or procedures, when such modifications are necessary to afford facilities,

privileges, advantages or accommodations to individuals with disabilities, unless such

person can demonstrate that making such modifications would fundamentally alter the

nature of such facilities, privileges, advantages or accommodations being offered or

would result in an undue burden".

       75.     Under N.Y. Exec. Law § 296(2)(c)(ii), unlawful discriminatory practice

also includes, “a refusal to take such steps as may be necessary to ensure that no

individual with a disability is excluded or denied services because of the absence of

auxiliary aids and services, unless such person can demonstrate that taking such steps

would fundamentally alter the nature of the facility, privilege, advantage or

accommodation being offered or would result in an undue burden.”

       76.     Readily available, well-established guidelines exist on the Internet for

making websites accessible to the blind and visually-impaired. These guidelines have

been followed by other large business entities and government agencies in making their

website accessible, including but not limited to: adding alt-text to graphics and ensuring

that all functions can be performed using a keyboard. Incorporating the basic components

to make its Website accessible would neither fundamentally alter the nature of

Defendant’s business nor result in an undue burden to Defendant.




                                          -26-
     Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 27 of 34




       77.     Defendant’s actions constitute willful intentional discrimination against

the class on the basis of a disability in violation of the NYSHRL, N.Y. Exec. Law §

296(2) in that Defendant has:

               a.      constructed and maintained a website that is inaccessible to blind

class members with knowledge of the discrimination; and/or

               b.      constructed and maintained a website that is not sufficiently

intuitive and/or obvious that it is inaccessible to blind class members; and/or

               c.      failed to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind class members.

       78.     Defendant has failed to take any prompt and equitable steps to remedy

their discriminatory conduct. These violations are ongoing.

       79.     Defendant discriminates, and will continue in the future to discriminate,

against Plaintiff and New York State Sub-Class Members on the basis of disability in the

full and equal enjoyment of the goods, services, facilities, privileges, advantages,

accommodations and/or opportunities of Defendant’s Website under § 296(2) et seq.

and/or its implementing regulations. Unless the Court enjoins Defendant from continuing

to engage in these unlawful practices, Plaintiff and the Sub-Class Members will continue

to suffer irreparable harm.

       80.     Defendant’s actions were and are in violation of New York State Human

Rights Law and therefore Plaintiff invokes his right to injunctive relief to remedy the

discrimination.

       81.     Plaintiff is also entitled to compensatory damages, as well as civil

penalties and fines under N.Y. Exec. Law § 297(4)(c) et seq. for each and every offense.



                                            -27-
     Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 28 of 34




       82.     Plaintiff is also entitled to reasonable attorneys’ fees and costs.

       83.     Under N.Y. Exec. Law § 297 and the remedies, procedures and rights set

forth and incorporated therein Plaintiff prays for judgment as set forth below.

                    THIRD CAUSE OF ACTION
        VIOLATIONS OF THE REHABILITATION ACT of 1973, §504

       84.     Plaintiff, on behalf of himself and the Class Members, repeats and

realleges every allegation of the preceding paragraphs as if fully set forth herein.

       85.     29 U.S.C. § 794(a) provides “No otherwise qualified individual with a

disability in the United States … shall, solely by reason of her or his disability, be

excluded from participation in, be denied the benefits of, or be subjected to

discrimination under any program or activity receiving Federal financial assistance….”

       86.     29 U.S.C. § 794(b) defines “program or activity” as “all operations

of…(2)(A) a college, university, or other postsecondary institution, or a public system of

education; or (B) a local educational agency…, system of career and technical education,

or other school system.”

       87.     Defendant receives Federal financial assistance.

       88.     Defendant’s operations, including its website, is a program or activity

within the meaning of 29 U.S.C. § 794.

       89.     The acts alleged herein constitute violations of The Rehabilitation

Act of 1973, § 504, and the regulations promulgated thereunder. Plaintiff, who is a

member of a protected class of persons under the RA, has a physical disability that

substantially limits the major life activity of sight within the meaning of 42 U.S.C. §§

12102(1)(A)-(2)(A). Furthermore, Plaintiff has been denied full and equal access to the

Website, has not been provided services that are provided to other patrons who are not

                                            -28-
     Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 29 of 34




disabled, and has been provided services that are inferior to the services provided to

non-disabled persons. Defendant has failed to take any prompt and equitable steps to

remedy its discriminatory conduct. These violations are ongoing.

          90.    Defendant discriminates, and will continue in the future to discriminate

against Plaintiff and the Class Members on the basis of disability in the full and equal

enjoyment of the goods, services, facilities, privileges, advantages, accommodations

and/or opportunities of Defendant’s Website and its physical locations under the RA

and/or its implementing regulations. Unless the Court enjoins Defendant from continuing

to engage in these unlawful practices, Plaintiff and the Class Members will continue to

suffer irreparable harm.

          91.    Defendant’s violations of Sec. 504 of the RA were intentional or with

deliberate indifference.

          92.    As a result of Defendant’s violations, Plaintiff is entitled to damages from

the Defendant.



                            FOURTH CAUSE OF ACTION
                           VIOLATIONS OF THE NYCHRL

          93.    Plaintiff, on behalf of himself and the New York City Sub-Class Members,

repeats and realleges every allegation of the preceding paragraphs as if fully set forth

herein.

          94.    N.Y.C. Administrative Code § 8-107(4)(a) provides that “It shall be an

unlawful discriminatory practice for any person, being the owner, lessee, proprietor,

manager, superintendent, agent or employee of any place or provider of public

accommodation, because of . . . disability . . . directly or indirectly, to refuse, withhold

                                             -29-
     Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 30 of 34




from or deny to such person, any of the accommodations, advantages, facilities or

privileges thereof.”

       95.     Defendant’s website is an online and physical college and a place of public

accommodation within the definition of N.Y.C. Admin. Code § 8-102(9), and its Website

is a service that is integrated with its online and physical college.

       96.     Defendant is subject to NYCHRL because it owns and/or operates its

Website in the City of New York, making it a person within the meaning of N.Y.C.

Admin. Code § 8-102(1).

       97.     Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in

refusing to update or remove access barriers to Website, causing its Website and the

services integrated therewith to be completely inaccessible to the blind. The

inaccessibility denies blind prospective students full and equal access to the facilities,

goods, and services that Defendant makes available to the non-disabled public.

       98.     Defendant is required to “make reasonable accommodation to the needs of

persons with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.]

from discriminating on the basis of disability shall make reasonable accommodation to

enable a person with a disability to . . . enjoy the right or rights in question provided that

the disability is known or should have been known by the covered entity.” N.Y.C. Admin.

Code § 8-107(15)(a).

       99.     Defendant’s actions constitute willful intentional discrimination against

the Sub-Class on the basis of a disability in violation of the N.Y.C. Administrative Code §

8-107(4)(a) and § 8-107(15)(a) in that Defendant has:




                                             -30-
     Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 31 of 34




               a.      constructed and maintained a website that is inaccessible to blind

class members with knowledge of the discrimination; and/or

               b.      constructed and maintained a website that is not sufficiently

intuitive and/or obvious that it is inaccessible to blind class members; and/or

               c.      failed to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind class members.

       100.    Defendant has failed to take any prompt and equitable steps to remedy

their discriminatory conduct. These violations are ongoing.

       101.    As such, Defendant discriminates, and will continue in the future to

discriminate, against Plaintiff and members of the proposed class and Sub-Class on the

basis of disability in the full and equal enjoyment of the goods, services, facilities,

privileges, advantages, accommodations and/or opportunities of its Website under §

8-107(4)(a) and/or its implementing regulations. Unless the Court enjoins Defendant

from continuing to engage in these unlawful practices, Plaintiff and members of the

Sub-Class will continue to suffer irreparable harm.

       102.    Defendant’s actions were and are in violation of the NYCHRL and

therefore Plaintiff invokes his right to injunctive relief to remedy the discrimination.

       103.    Plaintiff is also entitled to compensatory damages, as well as civil

penalties and fines under N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) for each

offense as well as punitive damages pursuant to § 8-502.

       104.    Plaintiff is also entitled to reasonable attorneys’ fees and costs.




                                            -31-
     Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 32 of 34




        105.    Under N.Y.C. Administrative Code § 8-120 and § 8-126 and the remedies,

procedures and rights set forth and incorporated therein Plaintiff prays for judgment as set

forth below.

                                FIFTH CAUSE OF ACTION
                                 DECLARATORY RELIEF

        106.    Plaintiff, on behalf of himself and the Class and New York State and City

Sub-Classes Members, repeats and realleges every allegation of the preceding paragraphs

as if fully set forth herein.

        107.    An actual controversy has arisen and now exists between the parties in that

Plaintiff contends, and is informed and believes that Defendant denies, that its Website

contains access barriers denying blind customers the full and equal access to the goods

and services of its Website, which Defendant owns, operates and controls, fails to comply

with applicable laws including, but not limited to, Title III of the Americans with

Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., N.Y.C.

Admin. Code § 8-107, et seq. and Section 504 of the Rehabilitation Act of 1973

prohibiting discrimination against the blind.

        108.    A judicial declaration is necessary and appropriate at this time in order

that each of the parties may know their respective rights and duties and act accordingly.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests the Court grant the following relief:

                a.       A preliminary and permanent injunction to prohibit Defendant

from violating the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y.

Exec. Law § 296, et seq., N.Y.C. Administrative Code § 8-107, et seq., The

Rehabilitation Act of 1973, § 504 et seq., and the laws of New York;

                                           -32-
     Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 33 of 34




               b.      A preliminary and permanent injunction requiring Defendant to

take all the steps necessary to make its Website into full compliance with the

requirements set forth in the ADA and the RA, and its implementing regulations, so that

the Website is readily accessible to and usable by blind individuals;

               c.      A declaration that Defendant owns, maintains and/or operates its

Website in a manner that discriminates against the blind and which fails to provide access

for persons with disabilities as required by Americans with Disabilities Act, 42 U.S.C. §§

12182, et seq., N.Y. Exec. Law § 296, et seq., N.Y.C. Administrative Code § 8-107, et

seq., The Rehabilitation Act of 1973, § 504 et seq., and the laws of New York

               d.      An order certifying the Class and Sub-Classes under Fed. R. Civ. P.

23(a) & (b)(2) and/or (b)(3), appointing Plaintiff as Class Representative, and his

attorneys as Class Counsel;

               e.      Compensatory damages in an amount to be determined by proof,

including all applicable statutory and punitive damages and fines, to Plaintiff and the

proposed class and Sub-Classes for violations of their civil rights under New York State

Human Rights Law and City Law;

               f.      Pre- and post-judgment interest;

               g.      An award of costs and expenses of the action together with

reasonable attorneys’ and expert fees; and

               h.      Such other and further relief as this Court deems just and proper.

                            DEMAND FOR TRIAL BY JURY

       Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all questions

of fact the Complaint raises.



                                             -33-
    Case 1:23-cv-00446-LGS Document 1 Filed 01/18/23 Page 34 of 34




Dated: New York, New York
       January 18, 2023
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                                 -34-
